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 1   Theodore H. Frank (SBN 196332)
     HAMILTON LINCOLN LAW INSTITUTE
 2   CENTER FOR CLASS ACTION FAIRNESS
     1629 K Street NW, Suite 300
 3
     Washington, DC 20006
 4   Voice: 703-203-3848
     Email: ted.frank@hlli.org
 5
     Attorneys for Objectors
 6
     John Andren, Matthew Lilley,
 7   and Joseph S. St. John

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 9                                          UNITED STATES DISTRICT COURT
10                                      NORTHERN DISTRICT OF CALIFORNIA
11                                               SAN JOSE DIVISION

12
     IN RE: GOOGLE LOCATION HISTORY                        Case No. 5:18-cv-05062-EJD
13   LITIGATION
                                                           DECLARATION OF MATTHEW LILLEY
14
                                                           Time:        9:00 A.M.
15                                                         Date:        April 18, 2024
     JOHN ANDREN, MATTHEW LILLEY, and
     JOSEPH S. ST. JOHN                                    Judge:       Hon. Edward J. Davila
16                                                         Courtroom:   4, 5th Floor
17                             Objectors.

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 1           I, Matthew Lilley, declare as follows:

 2           1.      I have personal knowledge of the facts set forth herein and, if called as a witness, could and

 3   would testify competently thereto.

 4           2.      My address is 124 Victorian Oaks Dr, Durham NC 27713. My telephone number is +1 857

 5   999 5251. My email address is lilley.matthew@gmail.com.

 6           3.      Hamilton Lincoln Law Institute (“HLLI”), its Center for Class Action Fairness (“CCAF”), and

 7   its attorneys represent me in this matter.

 8           4.      I intend to appear through my counsel Ted Frank at the fairness hearing currently scheduled

 9   for April 18, 2024.

10           5.      I am a Settlement Class Member as defined by the Settlement. My personal email address

11   associated with my Google account, and related to my claim here, is lilley.matthew@gmail.com. I am a natural

12   person who resided in the United States and used one or more mobile devices while “Location History” was

13   disabled during the class period.

14           6.      Specifically, my Google account settings show that my Location History is off. To the best of

15   my recollection I had affirmatively selected to have my Location History turned off in or around early 2018,

16   and I've verified on multiple occasions in the intervening period that my Google account shows it is turned

17   off. While Location Services were turned off, I used numerous Google apps and services, including at least

18   Gmail, Google Maps, Google Chrome, Google Search (primarily through Google Chrome), Google Drive,

19   Google Music, Google Podcasts, Google Photos, Google Calendar, Android Auto, and YouTube.

20           7.      Most of these services were accessed and used from my personal Android devices, of which I

21   owned several versions throughout the class period, including multiple Motorola Moto “G” phones. I also

22   accessed these services from multiple Dell laptops throughout the class period after the date when my Location

23   History was set to off.

24           8.      I am not excluded from class membership because I am not a director, officer, employee, or

25   agent of Google or its subsidiaries and affiliated companies and I have not requested to be excluded from the

26   Settlement.

27           9.      The specific grounds of my objection are identified in the memorandum to be filed by my

28   attorney contemporaneously with this declaration.

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 1           10.     I oppose the work of certain of the proposed cy pres recipients and do not wish money that

 2   belongs to me and other class members sustain their programs that work against my interests and values. Many

 3   of the proposed recipients are highly partisan organizations pushing left-wing ideological ends that are contrary

 4   to both my preferences and values, and those of millions of Americans (and thus presumably many class

 5   members).

 6           11.     My objection apples to the entire class.

 7           12.     I would not find it financially feasible to vindicate any claims I might have against Google

 8   defendants via an individual suit for money damages.

 9           13.     I bring this objection in good faith. I have no intention of settling this objection for any sort

10   of side payment. Unlike many objectors who attempt or threaten to disrupt a settlement unless plaintiffs’

11   attorneys buy them off with a share of attorneys’ fees, it is my understanding and belief that CCAF does not

12   engage in quid pro quo settlements and will not withdraw an objection or appeal in exchange for payment.

13           14.     Thus, if contrary to CCAF’s practice and recommendation, I agree to withdraw my objection

14   or any subsequent appeal for a payment by plaintiffs’ attorneys or the defendant(s) paid to me or any person

15   or entity related to me in any way without court approval, I hereby irrevocably waive any and all defenses to a

16   motion seeking disgorgement of any and all funds paid in exchange for dismissing my objection or appeal.

17           I declare under penalty of perjury under the laws of the United States of America that the foregoing

18   is true and correct.

19           Executed on March 04, 2024, in Durham, North Carolina.

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                                                            Matthew Lilley
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